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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: Gilberto Aponte
                                        Debtors(s)
 Toyota Motor Credit Corporation                                   BK NO. 20-10808-ELF
                                        Movant
                   v.                                              CHAPTER 13
 Gilberto Aponte
                                        Respondent
                and
 William C Miller
                                        Additional Respondent

MOTION OF TOYOTA MOTOR CREDIT CORPORATION FOR RELIEF FROM THE
   AUTOMATIC STAYUNDER SECTION 362 PURSUANT TO BANKRUPTCY
                     PROCEDURE RULE 4001

       Toyota Motor Credit Corporation (“Movant”), by it Attorney, Leopold & Associates,

PLLC, files this Motion for Relief from Automatic Stay (“Motion”), and moves this Court for an

Order granting relief from stay and in support thereof states the following:

   1. Gilberto Aponte (“Debtor”) filed a Chapter 13 Bankruptcy Petition filed on February 7,

       2020 by

   2. This Court has jurisdiction of this matter pursuant to 11 U.S.C. §362 and 28 U.S.C.

       §157(b)(2).

   3. On January 15, 2018, the Debtor entered into a Vehicle Retail Installment Contract in the

       amount of $28,458.96 (“Agreement”) for the purchase of a 2015 Toyota RAV 4 XLE,

       VIN # 2T3RFREV6FW265461 (“Vehicle”). A true and correct copy of the Agreement is

       attached hereto as Exhibit A.

   4. Movant is secured under the Agreement by a properly perfected first lien security interest

       in the Vehicle. A true and correct copy of the title to the Vehicle is attached hereto as

       Exhibit B.
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 5. Movant, to the best information and belief, states that there is no other entity claiming a

    lien on the Vehicle.

 6. The Movant has filed a Proof of Claim within this Bankruptcy Court dated March 26,

    2020 under claim # 8.

 7. Movant filed an Amended Proof of Claim on July 6, 2020 under claim #8-2.

 8. The outstanding balance under the Agreement as February 7, 2020 is $13,856.09.

 9. The fair market value of the Vehicle is $16,375.00 based on NADA.

 10. The Debtor is delinquent to the Movant for 5 post-petition payments due under the

    contract for the following months

    4/1/20: 311.93

    5/1/20: 311.93

    6/1/20: 311.93

    7/1/20: 311.93

    8/1/20: 311.93.

 11. The total amount due from the Debtor to the Movant to reinstate the Agreement post-

    petition is $1,559.65.

 12. The Debtor is in possession of the Vehicle.

 13. Movant moves pursuant to 11 U.S.C.§362(d)(1) that the automatic stay should be lifted

    for cause as the Movant lacks adequate protection of its interest in the Vehicle and has

    failed to make post-petition payments under the Agreement.

 14. The Movant additionally herby requests a waiver of Bankruptcy Rule 4001(a)(3).

 WHEREFORE, Movant pray that the Court grant 1) the termination of the automatic stay as

 to Movant in the 2015 Toyota RAV 4 XLE with VIN # 2T3RFREV6FW265461 and to seek

 statutory and other available remedies; 2) the Movant may obtain possession of the 2015
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 Toyota RAV 4 XLE with VIN # 2t3rfrev6fw265461 to the exclusion of the Debtor; 3)

 Movant further be granted its attorney fees and costs related to this motion; and 4) any other

 such further relief , at law or in equity as is just.



 Date: August 13, 2020



                                                         /s/ Robert Wendt, Esquire
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